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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION



EMPIRE CORVETTE OF AMERICA, INC.,                    CASE NUMBER: 6:18-cv-26-Orl-22DCI

              Plaintiff,
vs.


JUST TOYS CLASSIC CARS, LLC,

            Defendant.
_____________________________________/

               RESPONSE TO ORDER TO SHOW CAUSE (Docket No.: 24)



       COMES NOW the David S. Cohen, counsel for Plaintiff, EMPIRE CORVETTE OF

AMERICA, INC., and responds to the Court’s Order to Show Cause (Docket No.: 24) as follows:

1.     The Court issued its Case Management and Scheduling Order on April 12, 2018. The

       Order contained the date of the trial term as well as various deadlines for discovery,

       disclosures, and mediation.

2.     Upon receipt of the Order, consistent with the undersigned’s routine practice, the

       undersigned reviewed the Order and calendared the dates and deadlines contained within

       the Order.

3.     Although the undersigned calendared the mediation deadline, as a result of an oversight,

       the undersigned neglected to diary the deadline to file a notice advising the Court of the

       date the mediation was actually going to take place.
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4.     The failure to diary the deadline, and consequently, the failure to timely file the notice

       was not the result of any intentional disregard of the Court’s Order, but rather an

       oversight by the undersigned counsel.

5.     The undersigned recognizes the import of maintaining a proper calendar and takes efforts

       to ensure all relevant dates in all cases are appropriately calendared. Similarly, the

       undersigned recognizes his obligation to abide by the orders of this Court and would

       never intentionally disregard an order.

6.     Contemporaneously with the filing of this Response, the undersigned is filing a Notice of

       Scheduling Mediation. The mediation is scheduled to take place within the time frame

       provided by the Court’s Case Management and Scheduling Order, such that there will be

       no delay in these proceedings as a result of the failure to timely file the notice with the

       Court.

7.     The undersigned apologizes to the Court for the failure to adhere to the Court’s Order and

       requests the Court accept the foregoing explanation and refrain from issuing any

       sanctions due to the oversight.



       WHEREFORE, David S. Cohen, respectfully requests this Honorable Court accept the

foregoing explanation as a showing of good cause, refrain from issuing any sanction against the

undersigned, and otherwise discharge the Order to Show Cause.
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                               CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on this 11th day of May, 2018, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system which will provide a copy

electronically to Michael Kest, Esquire, Michael Kest, Esquire, 1150 Louisiana Avenue, Suite 4,

Winter Park, FL 32789.


LAW OFFICES OF DAVID S. COHEN, LC


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